            CaseApplication
   AO 106A (08/18) 8:24-mj-00219-DUTY                  Document
                            for a Warrant by Telephone or                1 Filed
                                                          Other Reliable Electronic    05/15/24
                                                                                    Means          Page 1 of 14 Page ID #:1


                                        UNITED STATES DISTRICT COURT
                                                                    for the
                                                        Central District
                                                     __________  Districtofof
                                                                            California
                                                                              __________

               In the Matter of the Search of                           )
       United States Postal Service                                     )
                                                                        )        Case No. 8:24-MJ-00219-DUTY
       (“USPS”) Priority Mail parcel
       bearing tracking number 9505 5147                                )
       1698 4123 3539 86                                                )


       APPLICATION FOR A WARRANT BY TELEPHONE OR OTHER RELIABLE ELECTRONIC MEANS
           I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
   penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
   property to be searched and give its location):

         See Attachment A
   located in the Central District of California, there is now concealed (identify the person or describe the property to be seized):
         See Attachment B
             The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
                      evidence of a crime;
                      contraband, fruits of crime, or other items illegally possessed;
                      property designed for use, intended for use, or used in committing a crime;
                      a person to be arrested or a person who is unlawfully restrained.
             The search is related to a violation of:
               Code Section                                                         Offense Description
          21 U.S.C. § 841(a)(1)                                        Distribution and Possession with Intent to Distribute a
                                                                       Controlled Substance

          21 U.S.C. § 843(b)                                           Unlawful Use of a Communication Facility (Including
                                                                       the Mails) to Facilitate the Distribution of a Controlled
                                                                       Substance
             The application is based on these facts:
                   See attached Affidavit
                      Continued on the attached sheet.
           Delayed notice of            days (give exact ending date if more than 30 days:                                   ) is requested
         under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.
                                                                                                  /s/ Gabriel Gutierrez
                                                                                                    Applicant’s signature

                                                                                   Gabriel Gutierrez, USPIS Task Force Officer
                                                                                                    Printed name and title

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by telephone.

Date: __________________
                                                                                                    Judge’s signature

City and state:     Santa Ana, California                                        Hon. Karen E. Scott, U.S. Magistrate Judge
                                                                                                    Printed name and title

AUSA: Brian Yang (714) 338-3534
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                                      AFFIDAVIT

      I, Gabriel Gutierrez, being duly sworn, declare and state

as follows:

                        I.      BACKGROUND AND EXPERIENCE
      1.     I am a Task Force Officer (“TFO”) with the United States

Postal Inspection Service (“USPIS”) and have been so employed since

June 2022.       I am currently assigned to the Contraband Interdiction

and Investigations South Team of the Los Angeles Division, which

is   responsible        for   investigating    drug     trafficking   violations

involving the United States Mail.            As such, I am an “investigative

or law enforcement officer” of the United States within the meaning

of Title 18, United States Code, Section 2510(7).                   Specifically,

I am an officer of the United States empowered by law to conduct

investigations of, and to make arrests for, offenses enumerated in

Title 18, United States Code, Section 2516.                     Prior to being

assigned as a TFO with the USPIS, I worked full-time as a sworn

law enforcement officer with the Santa Ana Police Department,

including as a narcotics detective.                 I have been a sworn law

enforcement officer with the Santa Ana Police Department since

April   2009.       I    have   approximately     14   years   of   investigative

experience.

      2.     I     have       received   training       and    have   experience

investigating violations of state and federal narcotics and money

laundering laws, including, but not limited to Title 21, United

States Code, Sections 841, 846, 952, 959 and 963 and Title 18,

United States Code, Section 1956(a).               I have been involved with

various    electronic         surveillance    methods    including    state   and
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federal wiretap investigations, the debriefing of informants and

witnesses,      as    well   as    others     who    have     knowledge           of     the

manufacturing,         distribution,        transportation,          storage,            and

importation of controlled substances and the laundering of drug

proceeds.

       3.   I    have     participated        in     many     aspects        of         drug

investigations, including investigations into the smuggling of

illegal drugs, money laundering, and extortion related to drug

trafficking.     I am familiar with narcotics traffickers’ methods of

operation, including the manufacturing, storage, transportation,

and    distribution     of   narcotics,      the    collection       of    money        that

represents      the    proceeds   of   narcotics      trafficking,          and        money

laundering.     I am also familiar with the way narcotics traffickers

transport and distribute narcotics in areas they control.                              I am

familiar with how drug traffickers utilize counter-surveillance

techniques to avoid detection by law enforcement.                         I also know

that    drug    traffickers       often     communicate       with        their        drug-

trafficking associates using cellular telephones.                     I have become

aware    that   more    sophisticated       drug    trafficking       networks           now

utilize the dark web, e-mail, Blackberry devices, Voice over

Internet Protocol, video chat, internet messaging services, and

social networking sites to communicate with one another.                           During

drug-related      communications,         traffickers       often    use     coded        or

cryptic language to disguise the drug-related nature of their

conversations.

       4.   In addition to my normal TFO duties, I also serve as a

canine handler for the USPIS.             My police canine partner, “Poppy,”

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is certified in narcotics detection.                  Poppy and I attended the

Scenturion Canine Consulting LLC Narcotics Detection course in

April 2021.          During this course, Poppy received 160 hours of

instruction         in    the      detection    of   the    odor   of   marijuana,

methamphetamine, cocaine, and heroin.                Poppy and I receive yearly

certification from the California Narcotic Canine Association in

narcotics detection.               I am familiar and knowledgeable in the

behaviors Poppy engages in when he detects the presence of the

odor of illegal narcotics. I conduct continual training with Poppy

by   hiding    various       narcotics     in   different     locations     such   as

buildings, vehicles, bags, parcels, and open areas.                 This training

includes proofing Poppy on odors such as plastic, boxes, latex,

tape,      metal,    currency       (circulated      and   uncirculated),    parcel

packaging material, glass pipes, and food.                 I also proof Poppy of

my human odor.           This training is ongoing and continuous.

                             II.    PURPOSE OF AFFIDAVIT
      5.      This affidavit is made in support of an application for

a search warrant to search the following parcel, also described in

Attachment A:

              a.     A United States Postal Service (“USPS”) Priority

Mail parcel bearing tracking number 9505 5147 1698 4123 3539 86

(the “SUBJECT PARCEL”).             It is a white medium flat rate box and

is addressed to “Louie C. 6220 Fulton St. Apt. 3 San Francisco,

CA 94121.”      The listed return address is “Dave R. 11641 Donna

Ln. Garden Grove, CA 92840”. The SUBJECT PARCEL was postmarked

on May 2, 2024, in the 92842-zip code.                It is currently in the



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custody of the United States Postal Inspection Service (“USPIS”)

in Santa Ana, California.

     6.    The    items    to    be   seized,    listed     in    Attachment   B,

constitute   the       fruits,    instrumentalities,        and    evidence    of

violations of Title 21, United States Code, Sections 841(a)(1)

(Distribution     and     Possession    with     Intent     to    Distribute   a

Controlled Substance) and 843(b) (Unlawful Use of a Communication

Facility (Including the Mails) to Facilitate the Distribution of

a Controlled Substance).          Attachments A and B are incorporated

herein by reference.

     7.    The facts set forth in this affidavit are based upon my

personal observations, my training and experience, and information

obtained from various law enforcement personnel and witnesses.

This affidavit is intended to show merely that there is sufficient

probable cause for the requested warrant and does not purport to

set forth all of my knowledge of or investigation into this matter.

Unless specifically indicated otherwise, all conversations and

statements described in this affidavit are related in substance

and in part only, and all dates and times are on or about those

dates indicated.

                   III. STATEMENT OF PROBABLE CAUSE

A.   Background

     8.    Based on my training and experience as a Task Force

Officer,   and   the    experiences    related    to   me   by    fellow   Postal

Inspectors who specialize in drug investigations, I know the

following:



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            a.      The greater Los Angeles area is a major source area

for drugs.       As such, drugs are frequently transported from the

region via the United States Mail, and the proceeds from drug sales

are frequently returned to Los Angeles through the mail.                      These

proceeds are generally in the form of money orders, bank checks,

or similar monetary instruments in an amount over $1,000.

            b.      Drug   distributors       often   use   USPS   Priority    Mail

Express,    which    is    the   USPS    overnight/next     day    delivery    mail

product, or Priority Mail Service, which is the USPS two-to-three-

day delivery mail product.              Drug distributors use the Priority

Mail Express delivery service because of its speed, reliability,

and the ability to track the parcel’s progress to delivery.                   Drug

distributors use the Priority Mail delivery service because it

provides them more time for travel between states if they decide

to follow their shipments to their destination for distribution.

Also, by adding delivery confirmation to a Priority Mail parcel,

drug traffickers have the ability to track the parcel’s progress

to the intended delivery point, as if the parcel had been mailed

using the Priority Mail Express Service.

     9.     Based on information derived and built upon over many

years, I, like other Postal Inspectors and Task Force Officers,

look for certain characteristics when examining Priority Mail

Express    and   Priority     Mail      for   controlled    substances   or    drug

proceeds.    These characteristics include:

            a.      The parcel is contained in a box, flat cardboard

mailer, or Tyvek envelope;



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            b.     The    parcel   bears   a    typed    label,   whether   USPS

Express Mail or Priority Mail;

             c.    If    the   parcel   bears   a   handwritten    label,   the

handwritten label does not contain a business account number;

             d.    The seams of the parcel are all taped or glued shut;

             e.    The parcel emits an odor of a cleaning agent or

adhesive or spray foam that can be detected by a human; and

             f.    Multiple parcels are mailed by the same individual,

on the same day, from different locations.

     10.     Parcels     exhibiting     such   indicia    are   often   examined

further, which may include verification of the addressee and return

addresses.        I know from my training and experience that drug

traffickers often use fictitious or incomplete names and addresses

in an effort to conceal their identities from law enforcement

officers.    To the extent that real addresses are ever used, it is

only to lend a legitimate appearance to the parcel and is almost

always paired with a false name.

     B.     Investigation Regarding the SUBJECT PARCEL

     11.    In August 2023, I began a joint investigation with United

States Postal Inspectors from the Boise, Idaho area.              During their

investigation, they had identified and seized parcels containing

narcotics that were mailed from Santa Ana, California.

     12.    The SUBJECT PARCEL shares similarities to other parcels

that have been seized and searched pursuant to a federal search

warrant.

     13.    Specifically, on March 14, 2024, I identified a USPS

Priority Mail Express parcel with a return address of “David R.

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1902 S Ross St. Santa Ana, CA 92707”.                I conducted ACCURINT

database checks 1 on both the sender and recipient addresses for

this   parcel   and   determined   that   the    listed   parties    were   not

associated with the listed addresses.           I also had my police canine

partner, Poppy, examine this parcel.        Poppy positively alerted to

the presence of narcotics or other items, such as the proceeds

from the sale of drugs that have been recently contaminated by or

associated with the odor of drugs.        Based on this information, on

March 18, 2024, the Honorable Douglas F. McCormick, United States

Magistrate Judge, issued a federal search warrant (Case Number

8:24-MJ-00129).        Upon   searching    this     parcel,   I     discovered

approximately 38.4 grams of dry marijuana and approximately 174.1

grams of THC edibles.

       14.   On May 1, 2024, I was advised by United States Postal

Inspectors from the Boise, Idaho area that a controlled buy was

conducted regarding this ongoing investigation.           They expected the

parcel to be shipped on May 2, 2024. I responded to the Garden

Grove Post Office, located at 10441 Stanford Ave, Garden Grove, CA

92842, and waited for one of the identified suspects to arrive at

the location.     At approximately 5:03 p.m., an identified suspect

arrived at the Sunflower Post Office and completed a transaction

involving six parcels.        I inspected each parcel and located the

parcel that was intended to be shipped to Postal Inspectors in

Boise, Idaho.     I also held a second parcel addressed to the City



       ACCURINT is a database used by law enforcement that
       1
collects data from sources including public records, through
which investigators can run queries for names, addresses,
telephone numbers, and other identifying information.
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of San Francisco, California for further inspection (the “SUBJECT

PARCEL”).        I selected this package for further inspection because

it was destined to a state and city that has legalized commercial

marijuana sales. The remaining parcels were allowed to be shipped.

      C.     Inspection of the SUBJECT PARCEL

      15.    On May 2, 2024, I inspected the SUBJECT PARCEL and

noticed     it    possessed   characteristics     common   for    parcels   that

contain      contraband.       Specifically,      the   SUBJECT    PARCEL    had

handwritten sender and recipient information, and tape was used to

seal the box on each open seam.          The listed sender was, “Dave R.

11641 Donna Ln., Garden Grove, CA 92840”.               The listed recipient

was “Louie C., 6220 Fulton St., Apt. 3, San Francisco, CA 94121”.

      16.    On May 2, 2024, I conducted an ACCURINT database check

using the information listed the SUBJECT PARCEL.             I was unable to

find the name “Louie C.” associated with the listed recipient

address. I was also unable to find the name “Dave R.” associated

with the listed sender address.

      D.     Positive Canine Alert on the SUBJECT PARCEL

      17.    On May 3, 2024, I had my certified drug-detection dog,

“Poppy,” examine the exterior of the SUBJECT PARCEL.                    K9 Poppy

positively alerted to the SUBJECT PARCEL, indicating the presence

of drugs or other items such as the proceeds from the sale of

drugs, which have been recently contaminated by or associated with

the   odor    of    drugs.    Attached   hereto    as   Exhibit    1,   which   I

incorporate fully herein by reference, is a document setting forth

information from me regarding Poppy’s training and history in



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detecting controlled substances, and Poppy’s examination of the

SUBJECT PARCEL.

                              IV. CONCLUSION

      18.   For all the reasons above, there is probable cause to

believe that the SUBJECT PARCEL, as described in Attachment A,

contains evidence, fruits, and instrumentalities of violations of

21 U.S.C. §§ 841(a)(1) (Distribution and Possession with Intent to

Distribute a Controlled Substance) and 843(b)

(Unlawful Use of a Communication Facility (Including the Mails) to

Facilitate    the   Distribution    of   a     Controlled   Substance),   as

described in Attachment B.




                                                /s/
                                             Gabriel Gutierrez
                                             Task Force Officer, USPIS


Attested to by the applicant in
accordance with the requirements
of Fed. R. Crim. P. 4.1 by
telephone on this ____ day of May,
2024.



HONORABLE KAREN E. SCOTT
UNITED STATES MAGISTRATE JUDGE




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                               ATTACHMENT A

PARCEL TO BE SEARCHED

      A United States Postal Service (“USPS”) Priority Mail parcel

bearing tracking number 9505 5147 1698 4123 3539 86 (the “SUBJECT

PARCEL”).   It is a white medium flat rate box and is addressed to

“Louie C. 6220 Fulton St. Apt. 3 San Francisco, CA 94121.”              The

listed return address is “Dave R. 11641 Donna Ln. Garden Grove, CA

92840”. The SUBJECT PARCEL was postmarked on May 2. 2024, in the

92842-zip code.      It is currently in the custody of the United

States   Postal    Inspection    Service    (“USPIS”)    in   Santa    Ana,

California.




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                               ATTACHMENT B

ITEMS TO BE SEIZED

      The following items are to be seized from the parcel

described in Attachment A, which constitute evidence, fruits,

and instrumentalities of violations of 21 U.S.C. §§ 841(a)(1)

(Distribution and Possession with Intent to Distribute a

Controlled Substance) and 843(b) (Unlawful Use of a

Communication Facility (Including the Mails) to Facilitate the

Distribution of a Controlled Substance):

           a.    Any controlled substances, including marijuana.

           b.    Currency, money orders, bank checks, or similar

monetary instruments in quantities over $1,000; and

           c.    Packaging material.




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                 EXHIBIT 1
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                                     AFFIDAVIT

                           HANDLER GABRIEL GUTIERREZ
                                AND K9 "POPPY"

I am currently employed by the Santa Ana Police Department, and assigned as a Detective
to the Vice/Narcotics Unit. As of April 7th, 2021, I was assigned as a Narcotic Detection
Canine Handler. “Poppy” who is a 3 year old female Black Labrador Retriever, was acquired
by the Santa Ana Police Department on April 7th, 2021. Subsequently, I was assigned as
POPPY’S full-time canine handler on this day.

POPPY and I have received training as a Narcotic Detection Canine Team by “Scenturion
Canine Consulting LLC,” which is located in Fontana, California. Poppy and I completed 4
weeks of formal Narcotic Detection Training taught by “Scenturion Canine Consulting LLC”
from April 12, 2021 through May 6th, 2021. During that time, POPPY has been trained to
detect and alert to the odors of Marijuana, Methamphetamine, Cocaine, Heroin, MDMA
(Ecstasy) and their derivative. POPPY has been trained to show a “passive alert” in
response to detecting any of these narcotic odors. Prior to her final alert POPPY will often
make sudden change of direction towards the source of the odor, her breathing pattern will
change and she may take several deep inhalations through his nose, and then appear to stop
taking breaths. Also, without direction, POPPY may also jump up into and/or crawl under
obstacles to get closer to the source of the odor(s). This passive alert may also indicate
item(s) that may have recently been contaminated with the odor of one or more of the
aforementioned narcotics for which POPPY has been trained to detect.

Also, while training at “Scenturion Canine Consulting LLC,” POPPY and I completed over 400
narcotic related and “blank” sniffs. These sniffs consisted of commercial buildings, residential
homes, vehicles, transport trucks, packages/parcels, luggage, and many other different types
of structures and objects. During these training sessions, the “training aids” were concealed
in various locations, inside and/or outside, and POPPY was used to detect and locate them.
POPPY and I, have also conducted sniffs where there were no narcotics present (blanks),
and POPPY did not adversely alert to these locations that were deemed blank.

On May 6th, 2021, POPPY and I passed the initial California POST certification process
through “CNCA,” which was conducted by a recognized CNCA Certified K9 trainer/instructor,
to detect the odors of Marijuana, Methamphetamine, Cocaine, Heroin, MDMA (Ecstasy) and
their derivative. It was on this day, POPPY and I became a CA POST Certified
Narcotics Detection Team. On January 14, 2022, December 22, 2022 and November 7,
2023, POPPY and I re-certified as a CA POST Certified Narcotics Detection Team
through “CNCA”. I am also a current member of the California Narcotics Officers
Association (CNOA).

During the week of June 6, 2023, Poppy was trained to detect and alert to the odor of
Fentanyl and its derivatives. On June 9, 2023, Poppy and I passed the California POST
certification process through “CNCA,” which was conducted by a recognized CNCA Certified
K9 trainer/instructor, to detect the odor of Fentanyl and its derivatives.

On May 3, 2024, my police canine and I assisted with a narcotic parcel
investigation. Canine Poppy alerted to the presence of the odor of illegal narcotics
emitting from the following parcel.

              9505 5147 1698 4123 3539 86
USPS Parcel: __________________________________
               Louie C.
Addressed To: _________________________________
              6220 Fulton St. Apt. 3
              San Francisco, CA 94121
                                                    __________________________________
                                                    Detective Corporal G. Gutierrez #3252
                                                                  Santa Ana PD
